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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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Case:17-03283-LTS Doc#:7707-6 Filed:06/27/19 Entered:06/27/19 15:28:48   Desc:
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